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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED SPECIALTY INSURANCE
COMPANY, INC. and MITSUI
SUMITOMO INSURANCE COMPANY OF
AMERICA,                                                            ORDER
                    Plaintiffs,
                                                              19 Civ. 11690 (PGG)
             - against -

ACE PROPERTY AND CASUALTY
INSURANCE COMPANY, ILLINOIS
NATIONAL INSURANCE COMPANY and
ILLINOIS UNION INSURANCE
COMPANY,

                           Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

               The conference currently scheduled for November 19, 2020 will take place by

telephone. The parties are directed to dial 888-363-4749 to participate, and to enter the access

code 6212642. The press and public may obtain access to the telephone conference by dialing

the same number and using the same access code. The Court is holding multiple telephone

conferences on this date. The parties should call in at the scheduled time and wait on the line for

their case to be called. At that time, the Court will un-mute the parties’ lines. Seven days before

the conference, the parties must email Michael_Ruocco@nysd.uscourts.gov and

GardepheNYSDChambers@nysd.uscourts.gov with the phone numbers that the parties will be

using to dial into the conference so that the Court knows which numbers to un-mute. The email

should include the case name and case number in the subject line.

Dated: New York, New York
       October 15, 2020
